 Case 4:21-cr-00102-CVE Document 34 Filed in USDC ND/OK on 04/21/21 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,

                       Plaintiff,

v.                                                      Case No. 21-CR-102-CVE-4

SHAUNI BREANNE CALLAGY,

                       Defendant.

                                    PROTECTIVE ORDER

           Upon the unopposed motion of the United States for a protective order (Dkt.

     #28), the Court is fully advised as to the nature of this case and the applicability of

     Rule 6(e) of the Federal Rules of Criminal Procedure to certain materials requested by

     the Defendant. The Court finds that the government must provide discovery and

     investigative materials, to include grand jury matters, for purposes of the trial of the

     above-captioned case. The Court further finds that these materials include matters

     relating to confidential informants and cooperating witnesses and that dissemination

     of these materials may create safety concerns for the confidential informants and

     cooperating witnesses. Accordingly, the Court issues this protective order as follows:

           IT IS HEREBY ORDERED that the Government attorneys are protected if

     they disclose to counsel for the above, prior to trial, grand jury and other investigative

     materials which must be disclosed under normal circumstances pursuant to the

     dictates of the Jencks Act, 18 U.S.C. § 3500; Fed. R. Crim. P. 16; United States v. Giglio,

     405 U.S. 150 (1972); and Brady v. Maryland, 373 U.S. 83 (1963).
Case 4:21-cr-00102-CVE Document 34 Filed in USDC ND/OK on 04/21/21 Page 2 of 3




      IT IS FURTHER ORDERED that the government provide grand jury and

other investigative materials for purposes of the trial of the above-captioned case; and

that they are not to be disseminated for any other purpose. The Court prohibits the

defense from showing discovery and investigative materials produced by the

government to anyone with the exception of the Defendant, attorney of record in this

case, and those persons employed by the attorney who are necessary to assist counsel

of record in preparation for trial. As a general matter, defense counsel shall not

reproduce the discovery or investigative materials for dissemination to any persons or

parties, including the Defendant, except for those persons employed by the attorney

who are necessary to assist counsel of record in preparation for trial, and shall maintain

complete custody and control over them, including all copies. The attorney for the

Defendant and the Defendant are bound by the secrecy in reference to dissemination

of discovery and other investigative materials, to include grand jury materials. There

is nothing in the Court’s order to prohibit counsel from discussing the case with co-

counsel.

      IT IS FURTHER ORDERED that the government shall provide discovery and

investigative materials to defense counsel without redaction.




                                            2
Case 4:21-cr-00102-CVE Document 34 Filed in USDC ND/OK on 04/21/21 Page 3 of 3




      IT IS FURTHER ORDERED that defense counsel is prohibited from sharing

un-redacted copies of discovery and investigative materials with the defendant or

others outside the defense team, meaning defense counsel shall not provide or give

copies of discovery or investigative materials provided by the government to the

defendant. Defense counsel may facilitate the defendant’s review of these materials by

allowing the defendant to review copies of these materials during attorney-client visits.

Under no circumstances shall a defendant be allowed to keep or maintain a copy of

these materials.




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